Case 08-10315-jkf        Doc 821       Filed 04/27/16 Entered 04/27/16 12:23:02         Desc Main
                                       Document      Page 1 of 1



                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE                                                 CHAPTER 7

 PURE WEIGHT LOSS, INC.                                BANKRUPTCY NO. 08-10315(JKF)
 Mt/a L.A. Weight Loss Centers, Inc.

                   Debtor


                                               ORDER

         On this         day of April, 2016 upon consideration of the Trustee's Objection to Proof of

Claim No. 1071-1 filed by Dawn M. Morgan, IT IS HEREBY

         ORDERED that Proof of Claim No. 1071-1 is DISALLOWED in its entiret




                                                   morable Jean K. FitzSimon,
                                                   ited States Bankrupted
